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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN THE MATTER OF THE APPLICATION
 OF THE ASSOCIATED PRESS; CABLE
 NEWS NETWORK, INC.; THE NEW
                                   Case No. 1:18-mc-41 (ABJ)
 YORK TIMES CO.; POLITICO LLC; AND
 WP CO., LLC, d/b/a THE WASHINGTON
 POST FOR ACCESS TO CERTAIN
 SEALED COURT RECORDS



                                            NOTICE

       In response to the Court’s Order of August 10, 2018 (Doc. 16), the government has

reviewed the warrants and has confirmed that they have not been unsealed by the court in the

Eastern District of Virginia and that the redacted warrants have been provided to the defendant,

Paul J. Manafort, Jr. Moreover, the government has reviewed whether there is any material in the

redacted portions of those warrants that became a matter of public record during the trial. As a

result of that review, the government is filing versions of those warrants that no longer redact

information that was made public in the Eastern District of Virginia trial.

                                                     Respectfully submitted,

                                                     ROBERT S. MUELLER, III
                                                     Special Counsel


Dated: August 30, 2018                          By: _/s/ Andrew Weissmann________________
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                                                    U.S. Department of Justice
                                                    Special Counsel’s Office
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